                  Case 5:18-cr-00258-EJD Document 645 Filed 12/15/20 Page 1 of 2



                                                                                  Dec 15 2020
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12                                     UNITED STATES DISTRICT COURT

13                                   NORTHERN DISTRICT OF CALIFORNIA

14                                              SAN JOSE DIVISION

15   UNITED STATES OF AMERICA,                          )   CASE NO. 18-CR-00258 EJD
                                                        )
16           Plaintiff,                                 )   DECLARATION OF VANESSA BAEHR-JONES
                                                        )   IN SUPPORT OF UNITED STATES’ OMNIBUS
17      v.                                              )   REPLY
                                                        )
18   ELIZABETH HOLMES and RAMESH                        )   [FILED PROVISIONALLY UNDER SEAL
     “SUNNY” BALWANI,                                   )   PURSUANT TO COURT ORDER OF JANUARY
19                                                      )   13, 2020]
             Defendants.                                )
20                                                      )

21

22           I, Vanessa Baehr-Jones, declare:
23           1.       I am an Assistant United States Attorney (AUSA) representing the United States of
24 America, the plaintiff in this case.

25           2.       Attached hereto as Exhibit 1 is a true and correct copy of a Federal Bureau of
26 Investigation (FBI) 302 report of interview for Paige Williams.

27           3.       Attached hereto as Exhibit 2 is a true and correct copy of an FBI 302 report of interview
28 for Nicole Canas.

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                 Case 5:18-cr-00258-EJD Document 645 Filed 12/15/20 Page 2 of 2




 1          4.       Attached hereto as Exhibit 3 is a true and correct copy of a video clip, dated July 15,

 2 2015, depicting Defendants Elizabeth Holmes and Ramesh Balwani at a Theranos event.

 3          5.       Attached hereto as Exhibit 4 is a true and correct copy of a video clip, dated July 15,

 4 2015, depicting Holmes and Balwani at a Theranos event.

 5          6.       Attached hereto as Exhibit 5 is a true and correct copy of a video clip, dated April 7,

 6 2015, depicting Holmes and Balwani at a Theranos event.

 7          7.       Attached hereto as Exhibit 6 is a true and correct copy of a video clip, dated April 7,

 8 2015, depicting Holmes and Balwani at a Theranos event.

 9          8.       Attached hereto as Exhibit 7 is a true and correct copy of a video clip, dated April 7,

10 2015, depicting Holmes and Balwani at a Theranos event.

11          9.       Attached hereto as Exhibit 8 is a true and correct copy of a video clip, dated April 7,

12 2015, depicting Holmes and Balwani at a Theranos event.

13          10.      Attached hereto as Exhibit 9 is a true and correct copy of a video clip, dated April 7,

14 2015, depicting Holmes and Balwani at a Theranos event.

15          11.      Attached hereto as Exhibit 10 is a true and correct copy of a video clip, dated April 7,

16 2015, depicting Holmes and Balwani at a Theranos event.

17          12.      Attached hereto as Exhibit 11 is a true and correct copy of a video clip, dated April 7,

18 2015, depicting Holmes and Balwani at a Theranos event.
19          13.      Attached hereto as Exhibit 12 is a true and correct copy of a video clip, dated April 7,

20 2015, depicting Holmes and Balwani at a Theranos event.

21          14.      I declare under penalty of perjury under the laws of the United States of America that the

22 foregoing is true and correct and that this declaration is executed at Oakland, California, on December

23 11, 2020.

24 DATED: December 11, 2020

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                                                                               ________________________
26                                                         VANESSA BAEHR-JONES
                                                           Assistant United States Attorney
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